     Case: 1:17-cv-01302 Document #: 36 Filed: 06/06/17 Page 1 of 1 PageID #:123

                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Guillermo Robles
                                    Plaintiff,
v.                                                        Case No.: 1:17−cv−01302
                                                          Honorable Amy J. St. Eve
Kraft Foods Group, Inc.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 6, 2017:


        MINUTE entry before the Honorable Jeffrey T. Gilbert: Status hearing held on
6/6/17. The parties reported they have resolved the case in principle and are finalizing the
terms. Defense counsel reported that Defendant's settlement representative is no longer
available for the settlement conference set for 6/20/17. Therefore, the settlement
conference set for that date is stricken. At the parties' request, a continued status hearing is
set for 6/22/17 at 9:45 a.m. If the parties resolve the case prior to the next status hearing,
counsel promptly shall notify the Court's courtroom deputy. Mailed notice(ber, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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